   Case 2:10-md-02179-CJB-DPC Document 6620-1 Filed 06/06/12 Page 1 of 1




                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

IN RE:    OIL SPILL BY THE OIL RIG*         MDL NO. 2179
          “DEEPWATER HORIZON” *             2:10-md-02179
          IN THE GULF OF MEXICO, *
          ON APRIL 20, 2010        *        JUDGE CARL BARBIER
                                   *
          RONALD CARRONE,          *        SECTION “J”(1)
          CAROL CARRONE,           *
          ANDREW J. DUPLESSIS, JR.,*        MAG. SALLY SHUSHAN
          BAY T. DUPLESSIS,        *
                     Plaintiffs    *        Member Case: 10-8888,
                                   *        10-2771
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *


                                      ORDER


      Considering the foregoing EX PARTE MOTION TO WITHDRAW AS COUNSEL:

      IT IS HEREBY ORDERED that the Motion of SIDNEY D. TORRES, III, ROBERTA L.

BURNS, CHRISTOPHER I. GANT, BEAU F. CAMEL, of/and LAW OFFICES OF SIDNEY

D. TORRES, III, APLC, attorneys of record for Plaintiffs, RONALD CARRONE, CAROL

CARRONE, ANDREW J. DUPLESSIS, JR. and BAY T. DUPLESSIS, is hereby GRANTED,

and that SIDNEY D. TORRES, III, ROBERTA L. BURNS, BEAU F. CAMEL, CHRISTOPHER

I. GANT of/and LAW OFFICES OF SIDNEY D. TORRES, III, APLC are herby withdrawn as

counsel of record for Plaintiffs, RONALD CARRONE, CAROL CARRONE, ANDREW J.

DUPLESSIS, JR. and BAY T. DUPLESSIS, in the above-captioned matters.


      Signed this ______ day of _______________ 2012, in New Orleans, Louisiana.

                                        __________________________________
                                                    J U D G E
